                                                                                            Case 2:24-cv-00799-APG-BNW Document 10 Filed 06/21/24 Page 1 of 2




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                                                                                      5
                                                                                          Attorneys for Defendant,
                                                                                      6   Venetian Las Vegas Gaming, LLC
                                                                                      7
                                                                                      8                                UNITED STATES DISTRICT COURT
                                                                                      9                                  FOR THE DISTRICT OF NEVADA
                                                                                     10   BRANDY SMITH, individually,                       Case No.: 2:24-cv-00799-APG-BNW
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                     11
                                                                                                                 Plaintiff,                 STIPULATION AND ORDER TO EXTEND
                                                                                     12          vs.                                        TIME FOR DEFENDANT TO FILE
                                                                                                                                            RESPONSE TO PLAINTIFF’S
                                                                                     13   VENETIAN LAS VEGAS GAMING, LLC, a                 COMPLAINT
                                                 200 S. Virginia Street, 8th Floor




                                                                                          domestic limited liability company; DOES I-
                                                                                     14   X; and ROE BUSINESS ENTITIES I-X,                 (Second Request)
                                                         Reno, NV 89501




                                                                                          inclusive,
                                                                                     15
                                                                                                                 Defendants.
                                                                                     16
                                                                                     17          Pursuant to Local Rules IA 6-1 and IA 6-2, Defendant Venetian Las Vegas Gaming, LLC
                                                                                     18   (“Defendant”) and Plaintiff Brandy Smith (“Plaintiff”) hereby requests a short extension of time,
                                                                                     19   up to an including July 9, 2024, for Defendant to file its response to Plaintiff’s Complaint (ECF.
                                                                                     20   No. 1). The present deadline for Defendant to files its response is June 21, 2024. This is the
                                                                                     21   parties’ second request for an extension of time for Defendant to file its response.
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                                                                                      1          The Parties have engaged in discussions related to several aspects of this case, including

                                                                                      2   settlement discussions. The Parties respectfully requests this extension in order to have the time to

                                                                                      3   allow the parties some additional time to explore resolution, and not for purposes of delay. Good

                                                                                      4   cause exists to extend the response deadline. Therefore, the parties respectfully request a thirty day
                                                                                      5   extension of time up to and including July 9, 2024 for Defendant to file its response to Plaintiffs’
                                                                                      6   Complaint.
                                                                                      7   DATED this 20th day of June, 2024.              DATED this 20th day of June, 2024.
                                                                                      8
                                                                                          MAIER GUTIERREZ & ASSOCIATES                    OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                      9                                                   P.C.
                                                                                     10
                                                                                          /s/ Danielle J. Barraza/                        /s/ Molly M. Rezac
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                     11   Jason R. Maier                                  Molly M. Rezac
                                                                                          Nevada Bar No. 8557                             Nevada Bar No. 7435
                                                                                     12   Danielle J. Barraza                             200 S. Virginia Street, 8th Floor
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                                                                                     13
                                                                                          8816 Spanish Ridge Avenue
                                                 200 S. Virginia Street, 8th Floor




                                                                                     14   Las Vegas, Nevada 89148                         Attorneys for Defendant,
                                                         Reno, NV 89501




                                                                                                                                          Venetian Las Vegas Gaming, LLC
                                                                                     15   Attorneys for Plaintiff,
                                                                                          Brandy Smith
                                                                                     16
                                                                                     17
                                                                                                                                        ORDER
                                                                                     18
                                                                                                 IT IS SO ORDERED.
                                                                                     19
                                                                                     20
                                                                                                                                        UNITED STATES MAGISTRATE JUDGE
                                                                                     21
                                                                                     22                                                  6/21/2024
                                                                                                                                        DATED
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